

People v Gladden (2025 NY Slip Op 02607)





People v Gladden


2025 NY Slip Op 02607


Decided on April 30, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

LARA J. GENOVESI, J.P.
VALERIE BRATHWAITE NELSON
DEBORAH A. DOWLING
CARL J. LANDICINO
PHILLIP HOM, JJ.


2022-09961
 (Ind. No. 70737/21)

[*1]The People of the State of New York, respondent,
vRonald Gladden, appellant.


Patricia Pazner, New York, NY (Samantha Jerabek of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Charles T. Pollak of counsel; Agnes T. Chang on the memorandum).



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Peter F. Vallone, Jr., J.), imposed September 26, 2022, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The sentence imposed was not excessive (see People v Suitte , 90 AD2d 80).
GENOVESI, J.P., BRATHWAITE NELSON, DOWLING, LANDICINO and HOM, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








